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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION


     In re: IMAGITAS, INC., DRIVERS’ PRIVACY
     PROTECTION ACT LITIGATION                         Case No. 3:07-md-2-J-32JRK


                                                Applies to:   Case No. 3:07-cv-389-J-32HTS
                                                              Case No. 3:07-cv-390-J-32HTS
                                                              Case No. 3:07-cv-391-J-32HTS
                                                              Case No. 3:07-cv-392-J-32HTS
                                                              Case No. 3:07-cv-393-J-32HTS
                                                              Case No. 3:07-cv-394-J-32HTS
                                                              Case No. 3:07-cv-395-J-32HTS


                                                ORDER

            Drivers in several states filed lawsuits against defendant Imagitas, Inc. and state

     officials alleging the defendants violated the federal Drivers’ Privacy Protection Act of 1994,

     18 U.S.C. §§2721-25 (“DPPA”), when they used state vehicle registration records to send

     unsolicited commercial advertisements to the drivers in their registration renewal envelopes.

     The MDL Panel consolidated the lawsuits before the undersigned and, by agreement of the

     parties, the case of Rine v. Imagitas, Inc., Case No. 3:06-cv-690-J-32HTS, was handled first

     while the remaining cases against Imagitas were stayed. The Court entered summary

     judgment in favor of Imagitas and against Rine and the Eleventh Circuit affirmed that

     decision. See Rine v. Imagitas, Inc., 590 F.3d 1215 (11th Cir. 2009). During the pendency

     of this litigation, the cases against the state officials were resolved by agreement1 and the

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         Those cases are Rine v. Dickinson, Case No. 3:07-cv-156-J-32HTS (filed in Florida);
     Kracum v. McCormack, Case No. 3:07-cv-978-J-32HTS (filed in Minnesota); Poynter v.
     Vincent, Case No. 3:07-cv-979-J-32HTS (filed in Missouri); and Bogard v. Morckel, Case No.
     3:07-cv-980-J-32HTS (filed in Ohio). Plaintiffs also voluntarily dismissed one of the Florida
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     cases that remain are against Imagitas only. Imagitas has now moved for judgment on the

     pleadings as to these remaining cases (brought by drivers in Massachusetts, Missouri, Ohio,

     Minnesota, and New York), arguing that the Eleventh Circuit’s decision in Rine compels this

     Court to reach the same result in the remaining cases. Judgment on the pleadings under

     Rule 12(c) is appropriate “[i]f upon reviewing the pleadings it is clear that the plaintiff would

     not be entitled to relief under any set of facts that could be proved consistent with the

     allegations.” CompuCredit Holdings Corps. v. Akanthos Capital Mgmt, LLC, 661 F.3d 1312,

     1314 (11th Cir. 2011) (quoting Horsley v. Rivera, 292 F.3d 695, 700 (11th Cir. 2002)).

     Plaintiffs have agreed that two of these cases- - Kracum v. Imagitas, Inc., Case No. 3:07-cv-

     391-J-32HTS (the Minnesota case) and Leven v. Imagitas, Inc., Case No. 3:07-cv-393-J-

     32HTS (the New York case)- - are due to be dismissed. Thus, the only remaining decision

     is whether judgment is due to be granted in Imagitas’ favor in the cases brought by drivers

     in Massachusetts, Missouri, and Ohio.2 Based on the Eleventh Circuit’s decision in Rine, this




     suits against Imagitas: Gentile v. Imagitas, Case No. 3:07-cv-525-J-32HTS.
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          These cases are Kendron v. Imagitas, Case No. 3:07-cv-389-J-32HTS and Mathias v.
     Imagitas, Case No. 3:07-cv-390-J-32HTS (both originally filed in Massachusetts); Ressler
     v. Imagitas, Case No. 3:07-cv-392-J-32HTS (originally filed in Missouri); Mathias v. Imagitas,
     Case No. 3:07-cv-394-J-32HTS and Bogard v. Imagitas, Case No. 3:07-cv-395-J-32HTS
     (both originally filed in Ohio). Plaintiffs did not list either of the Massachusetts cases in the
     case style of their brief but the Court had denied a request for another law firm to file a brief
     on behalf of the Kendron plaintiffs (see Order, Doc. 173). Although plaintiffs’ brief never
     mentions the Massachusetts Mathias case, the brief argues against granting judgment in the
     Kendron case. These arguments apply equally to the Massachusetts Mathias case; thus,
     Imagitas’ motion is ripe as to all these cases (and plaintiffs have not argued otherwise).

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     Court finds that the answer is yes.3

            I.     The Eleventh Circuit’s Rine decision

            The history of this litigation and the pertinent background facts are fully recounted in

     the Eleventh Circuit’s Rine decision and in this Court’s underlying Order on summary

     judgment and are therefore not repeated here. See Rine, 590 F.3d at 1217-22; In re:

     Imagitas, Inc., 3:07-md-2-J-32JRK, Doc. 104 at pp. 1-8. In Rine, the Eleventh Circuit ruled

     that Imagitas’ DriverSource program did not violate the DPPA because it fell within the (b)(1)

     exception to the statute’s general prohibition against disclosure. That exception permits

     disclosure of personal information by a state department of motor vehicles “[f]or use by any

     government agency” or “any private person or entity acting on behalf of a Federal, State, or

     local agency in carrying out its functions.” 18 U.S.C. § 2721(b)(1) (emphasis supplied).

            Thus, the Eleventh Circuit considered whether Imagitas’ DriverSource program, and

     specifically, the aspect of the program that involved the inclusion of commercial advertising

     in motor vehicle registration renewal envelopes, was “carrying out a function” of the Florida

     Department of Highway Safety and Motor Vehicles (“DHSMV”). Rine, 590 F.3d at 1223. In

     addressing this question, the Eleventh Circuit explained that while an agency “function” is

     not defined by the DPPA, its definition is a matter of federal law, and the Court therefore

     looked to the term’s common meaning to conclude that a “function” is “the action for which

     a person or thing is specially fitted, used or responsible or for which a thing exists; the


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         Because the application of the Eleventh Circuit precedent in Rine results in a decision
     in Imagitas’ favor in each of the remaining cases, the Court need not address Imagitas’
     alternative arguments that qualified immunity and plaintiffs’ failure to join indispensable
     parties also compel judgment in its favor.

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     activity appropriate to the nature or position of person or thing.” Id. (citing Webster’s Third

     New International Dictionary 920 (3d ed. 1966)). The Court determined it would therefore

     “defer to Florida as to the proper activities of the DHSMV.” Id. The Court then looked at

     various statutes in Florida as well as the contract between the Florida DHSMV and Imagitas

     to find that “[f]unding public programs through commercial advertising is a legitimate agency

     function within Florida.” Id.

            The Court next considered whether this legitimate agency function was nonetheless

     preempted by the DPPA but determined that it was not because the statute permits

     exceptions to the prohibition against disclosure and, provided the agency function “fit” the

     exception, the DriverSource program would not run afoul of the DPPA if Imagitas acted on

     behalf of the agency. Id. at 1224.

            The Court then looked at whether Imagitas acted “on behalf of” the Florida DHSMV

     in implementing the DriverSource program. Because that phrase was not defined by the

     DPPA, the Eleventh Circuit again turned to the common meaning and found that “on behalf

     of” meant “as the agent of” or “as representative of.” Id. at 1224-25 (citing Bryan A. Garner,

     A Dictionary of Modern Legal Usage 83 (1987)). The Eleventh Circuit found that Imagitas

     did act “on behalf of” the Florida DHSMV because a Florida statute (Fl. St. § 283.58)

     authorized state agencies to enter into contracts with private vendors to publish or produce

     public information materials financed by advertising and the Florida DHSMV and Imagitas

     had entered into just such a contract. Id. at 1225.

            Finally, the Eleventh Circuit rejected plaintiffs’ argument that a different subsection

     of the DPPA (§ 2721(b)(12)) more specifically addressed the conduct here and thus had to

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     be complied with instead. The Court found that the (b)(1) subsection was a separate and

     independent exception not altered by (b)(12) and compliance with the (b)(1) terms was

     therefore sufficient to satisfy the statute. Id. at 1225-26.

            In sum, the Eleventh Circuit considered four questions to determine whether Imagitas

     violated the DPPA. First, was the DriverSource program, which involves funding a public

     program through commercial advertising, a legitimate agency function within Florida?

     Second, was this function preempted by the DPPA? Third, was Imagitas acting on behalf

     of the Florida DHSMV in carrying out a legitimate agency function? And fourth, did a

     different DPPA subsection ((b)(12)) have to be complied with instead? The Eleventh

     Circuit’s answers to the second and fourth questions would hold true for any activity that

     meets the terms of one of the DPPA statutory exceptions to the prohibition against disclosure

     and this Court therefore has no occasion to revisit those questions here. See Murphy v.

     Federal Deposit Insurance Corp., 208 F.3d 959, 965-66 (11th Cir. 2000) (agreeing with

     Second, Eighth, Ninth and D.C. Circuits that because federal law is supposed to be unitary,

     a transferee district court should apply the law of the Supreme Court and its own circuit to

     issues of federal law).

            Therefore, Imagitas’ motion for judgment on the pleadings depends on the answers

     to the first and third questions: Is funding a public program through commercial advertising

     a legitimate agency function within Massachusetts? Within Missouri? Within Ohio? And was

     Imagitas acting on behalf of a state agency in Massachusetts? In Missouri? In Ohio? The

     answers require review of each state’s statutes and their respective agency contracts with



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     Imagitas.4 In making those inquiries, however, the Court is mindful of the Eleventh Circuit’s

     binding pronouncement that “[t]here is nothing in the federal [DPPA] statute that prevents

     states from including advertisements in [their motor vehicle registration] renewal notices and

     the same statute specifically allows states to operate through private contractors.” Rine, 590

     F.3d at 1226.

             II.     Massachusetts       Kendron v. Imagitas, Case No. 3:07-cv-389-J-32HTS and
                                         Mathias v. Imagitas, Case No. 3:07-cv-390-J-32HTS

             Like Florida, Massachusetts has statutes that support a finding that “[f]unding public

     programs through commercial advertising is a legitimate agency function.” Rine, 590 F.3d

     at 1223. For example, Massachusetts permits commercial advertising in its highway rest

     stops with the income credited to the highway fund. See Mass. Gen. Laws ch. 81, §7C.

     Advertising is also sold in Massachusetts Bay Transportation Authority facilities. See Mass.


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           The Court disagrees with Imagitas’ reading of the Eleventh Circuit’s Rine decision,
     which, according to Imagitas, hardly requires any consideration of state law. While the
     interpretation of the DPPA, a federal statute, is governed by federal law, the Eleventh Circuit
     “of course” “defer[red] to Florida as to the proper activities of the DHSMV.” Rine, 590 F.3d
     at 1223. The Court intends to do no less here with regard to Massachusetts, Missouri and
     Ohio. Having said that, the Court also disagrees with plaintiffs, whose reading of Rine would
     require the Court to seek out nearly identical statutes and contracts in Massachusetts,
     Missouri and Ohio to those the Eleventh Circuit considered with regard to Florida. The
     Eleventh Circuit reviewed the Florida statutes and contract searching for confirmation that
     the funding of public programs through commercial advertising was a legitimate agency
     function in Florida and that the DriverSource program filled a function Florida had allotted to
     one of its agencies. The contract and several Florida statutes provided that evidence. See
     Rine, 590 F.3d at 1223-24. The Court will review the Massachusetts, Missouri and Ohio
     statutes and contracts looking for similar signs. In doing so, the Court rejects plaintiffs’
     contention that consideration of these states’ contracts with Imagitas (the authenticity of
     which are not credibly challenged and which were indisputedly incorporated by reference into
     the various complaints) necessitates converting this motion into a prejudicially premature
     motion for summary judgment; indeed, plaintiffs’ brief makes repeated references to these
     contracts and attaches approximately 278 pages from them.

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     Gen. Laws ch. 161A, §3(n). Additionally, Massachusetts law permits the Massachusetts

     Operational Services Division to enter into contracts with third parties on behalf of the

     Massachusetts Registry of Motor Vehicles and any other executive department for all the

     goods and services the registry and other departments need. See Mass. Gen. Laws ch. 30,

     §§51-52. The contract entered into with Imagitas was a Commonwealth of Massachusetts

     standard form contract, issued by the Massachusetts Operational Services Division and

     incorporating the Request for Response. See Doc. 166-1 at p. 84. The Request for

     Response, issued by the Commonwealth of Massachusetts Registry of Motor Vehicles,

     solicited proposals for bids “to assist [the Registry] in carrying out its registration renewal

     functions” including “reduc[ing] [Registry] costs and potentially generat[ing] revenues to the

     Registry to further defray costs or help fund other [Registry] programs.” Doc. 166-1 at p.9.

     The Request for Response explained that the program “would be funded by the solicitation

     and sale of commercial advertising by the Contractor for insertion into the Registry’s

     Registration Renewal Notice mailing” and that “[a]dvertising revenues must be sufficient to

     cover all motor vehicle registration renewal tasks that the Contractor will perform.” Id.

            Upon review of the contract between Massachusetts and Imagitas, and deferring to

     Massachusetts, which has demonstrated in similar circumstances that it finds it appropriate

     for its state agencies to offset costs through commercial advertising, the Court finds that in

     Massachusetts, like in Florida, Imagitas was “acting on behalf of” a state agency in carrying

     out legitimate functions appropriately delegated to that agency. Judgment on the pleadings

     is therefore due to be entered in Imagitas’ favor in the two Massachusetts cases.



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            III.   Missouri      Ressler v. Imagitas, Case No. 3:07-cv-392-J-32HTS

            Like Florida (and Massachusetts), Missouri has statutes that demonstrate that

     Missouri gives its agencies the authority to offset costs through commercial advertising. For

     example, road signs, bus shelters and other programs and facilities related to Missouri’s

     state highways may be funded through commercial advertising. See Mo. Rev. Stat. §

     227.220; Wall USA, Inc. v. City of Ballwin, 53 S.W.3d 168, 169 (Mo. App. E.D. 2001).

     Additionally, Missouri’s own state version of the DPPA directs the Department of Revenue

     (the state agency that contracted with Imagitas) to disclose personal information as permitted

     by the federal DPPA statute (which statute, according to Rine, would not prohibit a state from

     sending commercial advertising with registration renewal information). Finally, Missouri’s

     Director of the Department of Revenue, who is authorized by statute to procure contractual

     services for each division, Mo. Rev. Stat. § 32.050 1.(2), and is ordered to arrange the

     functions and procedures of each division “as is necessary to bring about economy and

     efficiency” Mo. Rev. Stat. § 32.050 2.(2), entered into a contract with Imagitas under the

     authority of the State of Missouri Office of Administration to provide the same services to

     Missouri that Imagitas supplied to Florida. In fact, the Missouri contract simply incorporated

     and adopted the components of the Florida contract, including Florida’s invitation to

     negotiate (provided that various references to Florida law were deemed to be references to

     Missouri law). Just as the Eleventh Circuit determined that the contract with Florida

     supported a finding that Imagitas acted on behalf of Florida in mailing out the registration

     renewal envelopes with commercial advertising inserts, the same contract, construed to

     make appropriate references to Missouri law, supports a finding that Imagitas acted on

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     behalf of Missouri in mailing out the Missouri registration renewal envelopes with commercial

     advertising inserts.5 Judgment on the pleadings is therefore due to be entered in Imagitas’

     favor in the Missouri case.

            IV.    Ohio            Mathias v. Imagitas, Case No. 3:07-cv-394-J-32HTS and
                                   Bogard v. Imagitas, Case No. 3:07-cv-395-J-32HTS

            As with Florida (and Massachusetts and Missouri), Ohio too has statutes that

     authorize its state agencies to underwrite their program costs with commercial advertising.

     For example, Ohio’s department of transportation may contract with private persons and

     businesses for the operation, maintenance and marketing of Ohio’s tourist-oriented

     directional sign program and its highway directional signs, to be paid through fees collected

     from eligible attractions and businesses participating in these programs. Ohio Rev. Code

     Ann. §§ 4511.101, 4511.103. Ohio’s department of transportation also sells commercial

     advertising space on buildings at its roadside rest areas to fund the cost of improving the rest



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          As plaintiffs correctly note, the contract itself cites Missouri Revised Statute § 34.046,
     a law which authorizes Missouri’s commissioner of administration to contract with other
     government entities for the purchase of supplies and to participate in purchasing agreements
     whereby supplies are procured in accordance with a contract established by another
     governmental entity. Mo. Rev. Stat. § 34.046. Plaintiffs argue that because Imagitas is not
     a government entity, the Commissioner was without authority to enter into the contract.
     However, the contract does not necessarily cite this statute as the source of its authority (the
     reference is in the section describing the contents of the agreement) and, in fact, a more
     plausible explanation for the citation is that Missouri was simply adopting the contract
     entered into by the State of Florida, which is, of course, another government entity. However,
     the Court need not resolve the significance of this citation reference because it is beyond the
     scope of the motion before the Court- - plaintiffs never alleged that the Imagitas contracts
     violated state law and the Court has found that funding a public program through commercial
     advertising is a legitimate agency function within Missouri and, under the terms of the
     contract, Imagitas was acting on behalf of a Missouri state agency in mailing the registration
     renewal packets.

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     areas. Ohio Rev. Code Ann. § 5515.08. Ohio has authorized its Director of Public Safety

     (whose department enforces laws relating to motor vehicle registration) to enter into

     contracts and other business arrangements for all divisions of the department to accomplish

     the department’s functions; the Director also has the authority to establish policies governing

     department business. Ohio Rev. Code Ann. §§ 5502.01, 5502.011. The Director of Public

     Safety is further permitted to contract with third parties for the preparation of motor vehicle

     registration lists to be provided to department and authorized law enforcement agencies.

     Ohio Rev. Code Ann. § 4503.26(B). Additionally, like Missouri, Ohio has its own statute

     based on and implementing the DPPA and disclosures permitted under the DPPA would be

     authorized by Ohio’s statute as well. Ohio Rev. Code Ann. § 4501.27(B)(2)(a). Ohio’s

     contract with Imagitas incorporates the solicitation for bids which sought proposals “for a

     cooperative marketing arrangement” whereby the successful bidder would design, print,

     assemble and deliver Ohio’s motor vehicle registration renewals at no cost to Ohio to be

     underwritten by sales of advertisements to be included in the mailing, all in an effort to

     improve the registration renewal program while reducing its costs. See Doc. 175-3 at pp.

     4-5. Thus, including commercial advertising in motor vehicle registration renewal notices is

     a legitimate agency function in Ohio and Imagitas acted on Ohio’s behalf in carrying out the

     DriverSource program. Judgment on the pleadings is therefore due to be entered in

     Imagitas’ favor in the two Ohio cases.

            V.     Conclusion

            In reaching these determinations, the Court has no occasion to reach plaintiffs’

     arguments that some of the states may have permitted conduct beyond the terms of their

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     contracts or statutes because the questions here (as initially framed by the allegations of

     plaintiffs’ complaints and resolved through guidance from the Eleventh Circuit) are limited

     to determining whether Imagitas’ contracts with the various state agencies in Missouri,

     Massachusetts and Ohio violated the federal DPPA statute. See Rine; 590 F.3d at 1223

     (“Imagitas is only liable if its DriverSource program was not a permissible use” of driver

     information under the DPPA). Likewise, this Court need not address plaintiffs’ contention

     (raised in their brief but not anywhere in their complaints) that Imagitas’ manipulation of the

     data to create the “household view” was not known or understood by the state agencies with

     whom Imagitas contracted. As the Eleventh Circuit has affirmed, the DPPA permits the

     inclusion of commercial advertisements in states’ registration renewal envelopes. Rine, 590

     F.3d at 1226. Whether those ads are placed randomly or based on a strategic algorithm is

     beside the point in these lawsuits because, for purposes of considering compliance with the

     DPPA, the analysis is the same. Thus, the Court finds that Imagitas’ DriverSource program

     as operated in Massachusetts, Missouri and Ohio does not violate the DPPA.

            Accordingly, it is hereby

            ORDERED:

            1.     Imagitas’ Motion for Judgment on the Pleadings, filed as Doc. 166 in 3:07-md-

     2-J-32JRK, is GRANTED.        Judgment is entered in favor of Imagitas as to the cases of

     Kendron v. Imagitas, Case No. 3:07-cv-389-J-32HTS; Mathias v. Imagitas, Case No. 3:07-

     cv-390-J-32HTS; Kracum v. Imagitas, Case No. 3:07-cv-391-J-32HTS; Ressler v. Imagitas,

     Case No. 3:07-cv-392-J-32HTS; Leven v. Imagitas, Case No. 3:07-cv-393-J-32HTS; Mathias

     v. Imagitas, Case No. 3:07-cv-394-J-32HTS; Bogard v. Imagitas, Case No. 3:07-cv-395-J-

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     32HTS. The Clerk shall enter judgment accordingly.

              2.     Following the entry of judgment in Rine v. Imagitas, Imagitas filed a motion for

     taxation of costs (Doc. 115 in 3:06-cv-690-J-32HTS) which the Court held in abeyance while

     the case was on appeal. The Court will continue to stay its consideration of any costs

     motions until all appeals are resolved. If no new appeals are taken, Imagitas shall confer

     with plaintiffs in a further attempt6 to resolve the outstanding costs motion in Rine (and any

     new ones timely filed) and shall report back to the Court no later than March 1, 2012 as to

     whether the parties were able to reach an agreement.

              DONE AND ORDERED at Jacksonville, Florida this 30th day of December, 2011.




     s.
     Copies:

     counsel of record
     Jeffery N. Luthi, Clerk of the Panel




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            Lead counsel for both sides are required to make good-faith efforts this time around.

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